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   Attorneys for Defendants Patrick Allen, Sajel Hathi, Dolores Matteucci, and Sara Walker


                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

   DISABILITY RIGHTS OREGON,                             Case No. 3:02-cv-00339-AN (Lead Case)
   METROPOLITAN PUBLIC DEFENDER                          Case No. 3:21-cv-01637-AN (Member Case)
   SERVICES, INC., and A.J. MADISON,                     Case No. 6:22-CV-01460-AN (Member Case)

                  Plaintiffs,                            DEFENDANTS' UNOPPOSED MOTION TO
                                                         RESET STATUS CONFERENCE
          v.

   SAJEL HATHI, in her official capacity as
   head of the Oregon Health Authority, and
   SARA WALKER in her official capacity as
   Interim Superintendent of the Oregon State
   Hospital,

                  Defendants.

   JAROD BOWMAN, JOSHAWN DOUGLAS-                        Case No. 3:21-cv-01637-AN (Member Case)
   SIMPSON,

                  Plaintiffs,

          v.

     SARA WALKER, Interim Superintendent of
     the Oregon State Hospital, in her official
     capacity, DOLORES MATTEUCCI, in her
Page 1 - DEFENDANTS' UNOPPOSED MOTION TO RESET STATUS CONFERENCE
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     individual capacity, SAJEL HATHI, Director
     of the Oregon Health Authority, in her official
     capacity, and PATRICK ALLEN in his
     individual capacity,

                      Defendants.


     LEGACY EMANUEL HOSPITAL &                               Case No. 6:22-CV-01460-AN (Member Case)
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH; LEGACY
     HEALTH SYSTEM; PEACEHEALTH; and
     PROVIDENCE HEALTH & SERVICES
     OREGON,

                      Plaintiffs,
              v.

     SAJEL HATHI, in her official capacity as
     Director of Oregon Health Authority,

                      Defendant.




                                      CERTIFICATE OF CONFERRAL

              Counsel for state defendants has conferred by telephone with counsel for plaintiffs

     (specifically Emily Cooper and Jesse Merrithew), and they do not oppose the relief sought in

     this motion. Counsel has also conferred with Jonathan Monson, separate counsel for Dr.

     Hathi, and Mr. Monson reports that he does not oppose the relief sought. Finally, counsel has

     informed counsel for all amicus entities and persons about the relief to be sought in this

     motion.

                                                    MOTION

              A status conference is currently set in this case for January 10, 2025. (Order, Dkt.

     #536).




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              State defendants move the Court for an order resetting the date of that status

     conference to January 24, 2025. State defendants request that the status conference be reset

     because lead defense counsel, Ms. Scott, is unexpectedly out of the office due to a family

     medical emergency. Ms. Scott is not expected to return to the office until the week of

     January 20. This request is made in good faith and not for purposes of undue delay.

              DATED January 8, 2025.

                                                           Respectfully submitted,

                                                           DAN RAYFIELD
                                                           Attorney General



                                                                s/ Jill O. Conbere
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